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                     UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF KENTUCKY (LEXINGTON)



IN RE:                                             CASE NO. 18-51740-grs
 EASTERN AIR FLOW, L.L.C.
                                                   CHAPTER 7

                                                   Judge Gregory R. Schaaf
                                        Debtor



      MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT


       Now comes U.S. Bank National Association ("Movant"), and, through counsel, moves

pursuant to 11 U.S.C.§ 362 for an Order granting the Motion for Relief from Automatic Stay and

Abandonment with respect to certain property owned by the Debtor in which Movant has a

security interest, and for an abandonment of the property under § 554 of the Bankruptcy Code.

In support of this Motion, Movant states as follows:

       1.      As of November 7, 2018 the Debtor was indebted to the Movant in the amount of

$14,283.65, representing the balance due on the U.S. Bank Business Quick Loan Note and

Security Agreement with Guaranty (For Loans Secured by Business Assets, Equipment, Vehicles,

or Certificates of Deposit) (“Note”).

       2.      The indebtedness evidenced by the Note is secured by a security interest in the

following property at 2014 Dodge Promaster 1500, VIN: 3C6TRVBG5EE100952.

       3.      As of November 7, 2018, the Debtor has not made payments to Movant in

accordance with the Note secured by the Title Lien Statement. The Debtor has not made any
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payments due for the months of July 25, 2018 through October 25, 2018. If any payments come

due and owing, they too shall be incurred.

       Movant seeks relief from stay and abandonment on the following grounds: the interest of

Movant is not adequately protected; or the Debtor has no equity in the property.

                                               Respectfully submitted,

                                               /s/ David C Nalley
                                               David C Nalley (85637)
                                               Reisenfeld & Associates LLC
                                               Attorney for Movant
                                               3962 Red Bank Road
                                               Cincinnati, OH 45227
                                               voice: (513) 322-7000
                                               facsimile: (513) 322-7099
                                               e-mail: kybk@rslegal.com

                                             NOTICE

       Please take notice that parties in interest shall have 14 days from the date of this motion
within which to file a response to the motion and a request and notice of hearing on such
response. If no response is timely filed, the enclosed Order may be entered by the Court without
a hearing on the motion.
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all known lien holders have been served a copy of
                                     20th
the foregoing has been served this ________         December
                                            day of ____________, 2018, by regular U.S. Mail,
postage prepaid, or by electronic filing upon the following:



               James D. Lyon, Bankruptcy Trustee
               jdlyonlaw@aol.com

               U.S. Trustee, U.S. Trustee
               ustpregion08.lx.ecf@usdoj.gov

               Matthew B Bunch, Debtor's Counsel
               matt@bunchlaw.com

and on the following by ordinary U.S. Mail addressed to:

               Eastern Air Flow, L.L.C., Debtor
               5721 KY Route 404
               David , KY 41616-8301



                                                  /s/ David C Nalley
                                                   David C Nalley (85637)
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  Fill in this information to identify the case:

  Debtor 1                   Eastern Air Flow, L.L.C.
  Debtor 2
  (Spouse, if filing)
  United States Bankruptcy Court for the:               Eastern      District of           Kentucky
                                                                                             (State)
  Case number                                     18-51740-GRS




Official Form 410
Proof of Claim                                                                                                                                                                       04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

 Part 1:                Identify the Claim

 1.         Who is the current                     U.S. Bank National Association
            creditor?                              Name of the current creditor (the person or entity to be paid for this claim)
                                                   Other names the creditor used with the debtor


                                                   No
                                                                                   




 2.         Has this claim been
            acquired from
            someone else?                          Yes. From whom?

 3.         Where should notices                    Where should notices to the creditor be sent?                         Where should payments to the creditor be sent? (if
            and payments to the                                                                                           different)
            creditor be sent?                      U.S. Bank National Association Bankruptcy Department                  U.S. Bank National Association Payment Processing
                                                   Name                                                                  Name
            Federal Rule of
            Bankruptcy Procedure                   PO Box 5229                                                           17650 NE Sandy Blvd
            (FRBP) 2002(g)                         Number            Street                                              Number         Street
                                                   Cincinnati, Ohio 45201-5229                                           Portland, OR 97230
                                                   City                        State                    ZIP Code         City                              State            ZIP Code
                                                   Contact phone       877-254-7827                                      Contact phone         877-254-7827
                                                   Contact email       rcclaims@usbank.com                               Contact email         rcclaims@usbank.com

                                                   Uniform claim identifier for electronic payments in chapter 13 (if you use one):




                                                   No
                                                                                                                                                             




 4.         Does this claim amend
            one already filed?
                                                   Yes. Claim number on court claims registry (if known)
                                                                                                                                          




                                                                                                                                                      Filed on
                                                                                                                                                                         MM / DD/ YYYY



                                                   No
                                                                                                   




 5.         Do you know if anyone
            else has filed a proof
            of claim for this claim?               Yes. Who made the earlier filing?




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Part 2:      Give Information About the Claim as of the Date the Case Was Filed

 6.    Do you have any number you         No
       use to identify the debtor?
                                          Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor: 0516

 7.    How much is the claim?              $14,176.81                        .    Does this amount include interest or other charges?
                                                                                   No
                                                                                   Yes. Attach statement itemizing interest, fees, expenses, or other charges
                                                                                        required by Bankruptcy Rule 3001(c)(2)(A).


 8.    What is the basis of the claim? Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card. Attach
                                         redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c). Limit disclosing information that is
                                         entitled to privacy, such as healthcare information.

                                                                                 Goods Sold



 9.    Is all or part of the claim       No
       secured?
                                         Yes.    The claim is secured by a lien on property.

                                                     Nature of Property:

                                                     Real estate.                If the claim is secured by the debtor's principal residence, file a Mortgage Proof of Claim
                                                                                   Attachment (Official Form 410-A) with this Proof of Claim.
                                                     Motor vehicle
                                                                                   




                                                     Other. Describe:            2014 DODGE RAM, 3C6TRVBG5EE100952

                                                     Basis for Perfection:         Recordation of Lien
                                                     Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for example, a
                                                     mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been filed or
                                                     recorded.)
                                                     Value of property:                                       $
                                                     Amount of the claim that is secured:                     $14,176.81
                                                     Amount of the claim that is unsecured:                   $                         (The sum of the secured and
                                                                                                                                        unsecured amounts should match
                                                                                                                                        the amount in line 7.)

                                                     Amount necessary to cure any default as of the date of the petition:                          $1,085.08

                                                     Annual Interest Rate (when case was filed)                   5.990000%
                                                      Fixed
                                                      Variable
                                         No
                                                                                                                                            




 10.   Is this claim based on a lease?
                                         Yes. Amount necessary to cure any default as of the date of the petition.                          $



 11.   Is this claim subject to a right of No
       setoff?
                                           Yes. Identify the property:




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 12.   Is all or part of the claim   No                                                                                                    




       entitled to priority under
       11 U.S.C. § 507(a)?           Yes. Check one:                                                                                            Amount entitled to priority

       A claim may be partly                 
                                              Domestic support obligations (including alimony and child support) under 11 U.S.C. §
        priority and partly                      507(a)(1)(A) or (a)(1)(B).                                                                 $
       nonpriority. For example,
       in some categories, the               
                                              Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
                                              personal, family, or household use. 11 U.S.C.§ 507(a)(7).                               $
       law limits the amount
       entitled to priority.                 
                                              Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                                 bankruptcy petition is filed or the debtor's business ends, whichever is earlier. 11
                                                 U.S.C. § 507(a)(4).                                                                        $

                                             
                                              Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                         $

                                             
                                              Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                             $

                                             
                                              Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                             $

                                             *     Amounts are subject to adjustment on 04/01/19 and every 3 years after that for cases begun on or after the date of
                                                   adjustment.



Part 3:      Sign Below

  The person completing              Check the appropriate box:
  this proof of claim must
  sign and date it.                         I am the creditor.
  FRBP 9011(b).

  If you file this claim                    I am the creditor's attorney or authorized agent.
  electronically, FRBP
  5005(a)(2) authorizes courts              I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
  to establish local rules
  specifying what a signature               I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
  is.
  A person who files a               I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
  fraudulent claim could be          amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
  fined up to $500,000,
  imprisoned for up to 5             I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
  years, or both.
  18 U.S.C. §§ 152, 157 and          I declare under penalty of perjury that the foregoing is true and correct.
  3571.

                                     Executed on date                       10/30/2018
                                                                          MM / DD / YYYY


                                     /s/ Jason A. Cottrill
                                           Signature


                                     Print the name of the person who is completing and signing this claim:


                                     Name                         Jason A. Cottrill
                                                                  First name                          Middle name                          Last name
                                     Title                        Authorized Agent for U.S. Bank National Association

                                     Company                      Bonial & Associates, P.C.
                                                                  Identify the corporate servicer as the company if the authorized agent is a servicer.


                                     Address                      P.O. Box 9013
                                                                  Number              Street

                                                                  Addison                             Texas                                75001
                                                                  City                                State                                ZIP Code
                                     Contact phone                (972) 643-6600                            Email       POCInquiries@BonialPC.com



** END OF 410 FORM **




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Trustee: James D. Lyon                                                                      2005-N-5821

                               IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE EASTERN DISTRICT OF KENTUCKY
                                          LEXINGTON DIVISION

          IN RE:                                         §
                                                         §       CASE NO. 18-51740-GRS
          EASTERN AIR FLOW, L.L.C.                       §       CHAPTER 7
                                                         §
                                                         §       JUDGE GREGORY R. SCHAAF
                                                         §

                                                     EXHIBIT A

                            ITEMIZATION OF CLAIM AND SUMMARY OF SUPPORTING
                         DOCUMENTS FOR CLAIM OF U.S. BANK NATIONAL ASSOCIATION


                              REGARDING CERTAIN COLLATERAL DESCRIBED AS:
                                   2014 DODGE RAM 3C6TRVBG5EE100952


                                   SECTION 1. ITEMIZATION OF CLAIM

A.        Total Debt as of September 21, 2018
          Principal Balance                                                              $13,850.61
          Accrued Unpaid Interest                                                          $238.66
          Late Charges                                                                       $87.54

          TOTAL DEBT                                                                     $14,176.81


B.        Total Arrearage as of September 21, 2018
          Regular Monthly Installments                                                     $997.54
          July 25, 2018 through September 21, 2018
          Late Charges                                                                      $87.54

          TOTAL ARREARAGE                                                                 $1,085.08




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